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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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In the Matter of the Petition of GRACE
OCEAN PRIVATE LIMITED, et al., for
Exoneration from or Limitation of
Liability y

Civ. No. 24-00941-JKB

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IN ADMIRALTY

MEMORANDUM AND ORDER

Petitioners Grace Ocean Private, Ltd. (“Grace”) and Synergy Marine Pte Ltd (“Synergy”)
filed an Objection and Appeal to the magistrate judge’s memorandum and order of February 26,
2025 (ECF No. 489), which directed Petitioners to make certain witnesses available for deposition
in the District of Maryland. (ECF No. 492.) For the following reasons, the Objection and Appeal
will be overruled without prejudice, but the February 26 order will be stayed in part and the matter
recommitted to the magistrate judge for further proceedings.
I. Background

This action relates to the allision of the M/V Dali with the Francis Scott Key Bridge on
March 26, 2024. Following that incident, Petitioners filed suit, seeking the protections of the
Limitation of Liability Act, 46 U.S.C. §§ 30501-30530, and various Claimants filed Answers and
Claims for damages. The case is currently in fact discovery, which is scheduled to conclude on
July 16, 2025. (Case Mgmt. Order No. 3, ECF No. 438 at 7.)

On February 4, 2025, Claimants filed a Motion to Compel, which sought an order requiring
Petitioners to make certain individuals associated with Grace and Synergy available for

depositions in Baltimore, Maryland. (ECF No. 475.) Two days later, the Court entered an order
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referring the Motion to Compel, and all other discovery matters, to Chief Magistrate Judge
Timothy J. Sullivan. (ECF No. 477.) On February 26, 2025, after receiving briefing from the
parties, Judge Sullivan granted the Claimants’ Motion to Compel and ordered that “Petitioners and
their management agents and employees shall make themselves available for deposition in the
District of Maryland.” (ECF No. 489 at 4.)

Judge Sullivan began by observing that “[t]he Court has broad discretion in determining
where depositions will be held.” (/d. at 1 (first citing Otte Candies, LLC y. Citigroup, Inc., 963
F.3d 1331, 1344 (11th Cir. 2020), and then citing 8A Charles Alan Wright & Arthur R. Miller,
Federal Practice & Procedure § 2112 (3d ed. 2025).) In this case, Judge Sullivan determined that
“(t]he most important factor is the convenience of the parties.” (/d. at 2.) He explained that the
six individuals Claimants seek to depose all live in India or Singapore. And, regardless of whether
the depositions are held in London (as Petitioners suggested) or Baltimore (as Claimants
requested), the witnesses “will be required to travel great distances for fete depositions.” (/d.)
On the other hand, however, requiring approximately eighteen Claimants’ lawyers to travel to the
United Kingdom for depositions would “impose extraordinary costs on Claimants” as compared
to holding depositions in Baltimore, given that all the lawyers live in the continental United States
and most have offices within 200 miles of Baltimore. (/d.)

Judge Sullivan found other concerns raised by Petitioners unpersuasive. He noted that
Petitioners did not identify any medical or financial issues that would make travel difficult. (/d.)
He also considered Petitioners’ “primary concern” that, if the witnesses come to the United States,
“they will be detained indefinitely by the U.S. Department of Justice as material witnesses.” (/d.
(citing ECF No. 482 at 19).) He found this concern unavailing, both because there was no evidence

before the Court suggesting that the witnesses had been identified as material witnesses in a
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criminal proceeding, and because—even assuming that they were detained—they would have
adequate remedies at law. (/d. at 2-3.) Furthermore, as to concerns about the witnesses’ ability
to obtain visas permitting travel to the United States, Judge Sullivan noted that four of the six
already have visas, and that it is “not clear that [the remaining two] witnesses will be unable to
obtain visas if they try.” (/d. at 3.) Finally Judge Sullivan noted Petitioners’ contention that
Synergy is unable, under Indian law, to compel the witnesses to travel to the United States for
depositions. (/d. at 4.) He expressed “confiden[ce] that Petitioners will act in good faith to comply
with the Court’s Order,” and stated that—if visa issues make travel to the United States
impossible—then he “expects that the Claimants will accommodate them by taking their
depositions in London or by remote means.” (/d.)'

Petitioners’ Objection and Appeal followed. (ECF No. 492.) The Court set a briefing
schedule (ECF No. 493), and the matter is now ripe for decision.
II. Standard of Review

The district court may refer non-dispositive pretrial matters such as discovery disputes to
a magistrate judge for disposition. 28 U.S.C. § 636(b)(1). Upon a timely objection of the
magistrate judge’s ruling, the district court “may accept, reject, or modify” it “in whole or in part,”
or “recommit the matter to the magistrate judge with instructions.” /d Under Federal Rule of
Civil Procedure 72(a), “[t]he district judge in the case must consider timely objections and modify
or set aside any part of the [magistrate judge’s] order that is clearly erroneous or is contrary to
law.” The “clearly erroneous” standard applies to factual findings; the “contrary to law” standard
applies to legal conclusions. Sky Angel U.S., LLC v. Discovery Comme’ns, LLC, 28 F. Supp. 3d

465, 479 (D. Md. 2014), aff'd on other grounds, 885 F.3d 271 (4th Cir. 2018).

' Judge Sullivan noted other arguments presented by Claimants in favor of holding the depositions in
Baltimore, but found that they “d[id] not factor into the Court’s decision.” (/d. at 3.)

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The factual findings of the magistrate judge constitute the considered determination of an
independent judicial officer and are ordinarily due great deference. This deference is compelled
both by law—district courts may overturn such findings only if “clearly erroneous,” 28 U.S.C.
§ 636(b)(1)(A); Fed. R. Civ. P. 72(a)—and, especially when it comes to discovery disputes, as a
matter of good practical sense—the magistrate judge is typically closer to the facts and in a better
position to evaluate the most just and pragmatic outcome in a given case. See United States v.
Performance Food Grp., Civ. No. MJG-13-1712, 2015 WL 2226252, at *1 (D. Md. Apr. 23, 2015)
(“[T]he district court should, normally, give great deference to the judgment calls necessarily made
by a Magistrate Judge in the course of resolving discovery disputes.”). Thus, when reviewing the
magistrate judge’s factual findings, the district court does not “ask whether the finding is the best
or only conclusion,” or even if it was the conclusion that the district court itself would have made
in the first instance; instead, the district court’s role is limited to “determin[ing] whether the
magistrate judge’s findings are reasonable and supported by tie evidence.” Sky Angel, 28 F. Supp.
3d at 479-480 (citation omitted).

II. Analysis

Here, Judge Sullivan acted well within his discretion in determining that the convenience
of the parties militated in favor of holding depositions in Baltimore, rather than London. While
London might be somewhat more convenient for the Singaporean and Indian witnesses, the reality
is that these witnesses would have to take at least one long and expensive flight to get to either
city. By contrast, Judge Sullivan found (and Petitioners do not dispute) that all of Claimants’
lawyers live in the continental United States, and most have their offices within 200 miles (.e.,
within a day’s drive or train ride) of Baltimore. Thus, Judge Sullivan reasonably concluded that

the marginal cost for Claimants in going to London rather than Baltimore would be fairly high,
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while the marginal cost for Petitioners’ witnesses to go to Baltimore rather than London would be
fairly low. As to Petitioners’ concerns about the witnesses’ being detained as material witnesses,
Judge Sullivan rightly observed that “[t]he Court has no information about whether any of the
witnesses have been identified as material witnesses in any criminal proceeding,” and that even if
they were so identified, they would have legal recourse under 18 U.S.C. § 3144. (ECF No. 489 at
2-3.) Thus, it was not an abuse of discretion or clearly erroneous for Judge Sullivan to conclude
that Baltimore was a more convenient destination for the depositions than London.

That said, a wrinkle has emerged in the briefing of the Objection and Appeal that
necessitates a remand to Judge Sullivan for further proceedings. Although this issue was raised
only somewhat obliquely in the briefing before Judge Sullivan (see ECF No. 482 at 14~-16),
Petitioners argue that the witnesses at issue are not officers, directors, or managing agents of
Synergy, and that accordingly they are not subject to deposition by notice under Federal Rule of
Civil Procedure 30(a). See EL. DuPont de Nemours & Co. v. Kolon Indus., Inc., 268 F.R.D. 45,
48 (E.D. Va. 2010). If the examining party fails to show that the witness falls into one of these
categories, then the “witness must be subpoenaed pursuant to Rule 45 of the Federal Rules of Civil
Procedure, or, if the witness is overseas, the procedures of the Hague Convention or other
applicable treaty must be utilized.” United States v. Afram Lines (USA), Ltd., 159 F.R.D. 408, 413
(S.D.N.Y. 1994); accord Inre Honda Am. Motor Co., Inc. Dealership Rels. Litig., 168 F.R.D. 535,

540 (D. Md. 1996). Petitioners represent to the Court that the witnesses have obtained their own

? Petitioners object that this provision “provide[s] no actual comfort to the witnesses.” (ECF No. 492 at 6.)
But 18 U.S.C. § 3144 is hardly toothless. See United States v. Matus-Zayas, 655 F.3d 1092, 1100 (9th Cir.
2011) (“A district court must order a material witness’ deposition and prompt release when it has been
demonstrated that the material witness’ testimony can adequately be secured by deposition, and that further
detention is not necessary to prevent a failure of justice.” (cleaned up) (emphasis in original)). As for
Petitioners’ contention that it is “common in U.S. investigations and well-known in the maritime industry”
for foreign seafarer witnesses to be indefinitely detained under “Security Agreements,” Petitioners offer no
evidence in support of this claim beyond Counsel’s bare assertion in briefing. (See ECF No. 497 at 2.)

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separate counsel who may or may not advise the witnesses to travel to the United States. (ECF
Nos. 492 at 5, 497 at 8.)

On the record before it, the Court lacks sufficient basis to determine whether the six
witnesses at issue are officers, directors, or managing agents subject to deposition by notice.
Ordinarily, courts resolve such doubts in favor of the examining party, see EL. DuPont, 268 F.R.D.
at 49, but the Court is not sure that such an approach would make sense in the unique context of
this case. If the witnesses maintain that they are entitled to insist on the protections of the Hague
Convention or other treaty, then as a practical matter the Court has no way to immediately force
them to come to the United States. Experience has taught the Court that any Hague Convention
proceeding will likely take many months, if not over a year, to resolve.

Given that fact discovery is scheduled to close in three months, and that trial is set to begin
in just over a year, the Court is loath to countenance any actions that will lead to delay. Therefore,
as a matter of pure pragmatism, if the witnesses are willing to come to London without delay, it
may make more sense to direct the depositions to occur there (or some other mutually agreeable
foreign location), rather than risk months of extra litigation in trying to make the witnesses come
to Baltimore. Because Judge Sullivan is in a better position than this Court to determine the most
prudent next step, the Court will recommit the matter to him with appropriate instructions, pursuant
to 28 U.S.C. § 636(b)(1).

IV. Conclusion

Petitioners have not shown that Judge Sullivan’s memorandum and order was clearly
erroneous or contrary to law. But further proceedings before Judge Sullivan are appropriate to
determine the most just and efficient way of accomplishing the depositions at issue. Accordingly,

it is ORDERED that:
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1. The Objection and Appeal (ECF No. 492) is OVERRULED, without prejudice. However,
to the extent that the February 26 order required Petitioners to make their employees
“available for deposition in the District of Maryland” (ECF No. 489 at 4), that order is
STAYED until Judge Sullivan or this Court orders otherwise.

2. Pursuant to 28 U.S.C. § 636(b)(1), the Court RECOMMITS the matter to Judge Sullivan
for further consideration. On remand, and after taking additional briefing and/or holding a
hearing as he deems appropriate, Judge Sullivan should determine on a case-by-case basis,
whether—given considerations of efficiency and need to avoid delay—any or all of the six
witnesses should be deposed in London (or some other mutually agreeable location) rather

than Baltimore.

DATED this _/ 5S day of April, 2025.

BY THE COURT:

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James K. Bredar
United States District Judge

